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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                               NO. 4:09CR00319-03 JLH
                                 NO. 4:09CR00319-04JLH
ASHIA HOLLIDAY
MINDY BUTTERFIELD


                                          ORDER

       The government has filed a motion to dismiss the indictment against defendants Ashia

Holliday and Mindy Butterfield. Without objection, the motion is GRANTED. Document #73. The

indictment against defendants Ashia Holliday and Mindy Butterfield is hereby dismissed without

prejudice.

       IT IS SO ORDERED this 30th day of June, 2010.




                                                  ___________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
